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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                               The Honorable Elizabeth E. Brown

   In re:
   Sklar Exploration Company, LLC,                 Case No. 20-12377 EEB
                                                   Chapter 11
   Debtor.


   In re:
                                                   Case No. 20-12380 EEB
   Sklarco, LLC,                                   Chapter 11

   Debtor.

                                                   Jointly Administered Under
                                                   Case No. 20-12377 EEB

  NOTICE AND ORDER SETTING NON-EVIDENTIARY ZOOM STATUS CONFERENCE

        IT IS HEREBY ORDERED that a Zoom video status conference is set for Thursday,
 July 15, 2021, at 10:00 a.m. before Judge Elizabeth E. Brown on in the United States
 Bankruptcy Court for the District of Colorado. The purpose of the status conference is to
 discuss the status of this case and confirmation of Debtors’ proposed plan.

                                   To Join the Zoom Hearing:

             https://www.zoomgov.com/j/1600022136?pwd=UlZ5STVVbGlCNkNRUFg4eHlpeFR3UT09

                         Meeting ID: 160 002 2136 Password: 727908
             One tap mobile
             +16692545252,,1600022136#,,,,,,0#,,727908# US (San Jose)
             +16468287666,,1600022136#,,,,,,0#,,727908# US (New York)
             Dial by your location
                  +1 669 254 5252 US (San Jose)
                 +1 646 828 7666 US (New York)



            1.    Zoom Video Conferences:

                  a. It is counsel’s and/or the parties’ responsibility to ensure that they and
                     their witnesses have the proper equipment to attend the Zoom video
                     conference and that they and their witnesses possess complete copies of
                     all marked exhibits prior to the Zoom video conference.

                  b. Participants should ensure that their equipment is connected to strong
                     WIFI signal or internet connection during the hearing.
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               c. If counsel/parties intend to present exhibits and/or otherwise refer to
                  written documents at the hearing, the Court prefers that they do so by
                  using the “Share Screen” function in Zoom. Counsel/parties should
                  make themselves familiar with this function prior to the hearing.

               d. The Court encourages anyone who will be speaking during the trial to use
                  a headset (headphones with mic) and not rely on an internal microphone
                  built into a computer or webcam. Using a headset will to ensure that you
                  can be heard by other participants and in the Court’s official recording.

               e. Parties should check into the Zoom video conference at least 15 minutes
                  prior to the scheduled start time of the trial.

               f.   Zoom displays a screen name for each participant in a video conference.
                    Typically, Zoom will default to the name you gave at the time you initially
                    set up your Zoom account (e.g. smithj or XYZCorp) or the phone number
                    or device name from which you are calling. To enable the Judge to
                    identify participants, each participant should ensure that their screen
                    name is their full first name and last name (e.g. John Smith). You can
                    change your screen name after being admitted to the video conference by
                    using the rename function in Zoom. To rename, hover your cursor over
                    your picture and either right click or click the blue button in the upper right
                    corner of your picture and select “Rename” and then type your first name
                    and last name into the box that appears. If you fail to identify yourself in
                    this manner by the start of the trial, you may be removed from the video
                    conference.

               g. The Court will not provide any type of support on Zoom for participants or
                  attendees. For assistance, please contact the Zoom Help Center, your
                  local IT support, or seek other online guidance

               h. The Court’s general guidelines regarding Zoom hearings are available at:
                  https://www.cob.uscourts.gov/zoom-video-conferences.

         2.   Court Appearances. If a party does not join the Zoom video conference, it
 will be deemed a failure to appear. Failure to connect to the Zoom video conference in a
 timely manner will preclude participation in the trial.

        3.     No Recordings. Counsel and/or the parties are strictly prohibited from
 recording any court proceeding held by video or teleconference, including taking “screen
 shots” or other visual copies. Violation of this prohibition may result in sanctions as
 deemed necessary by the Court.

        Dated this 1st day of July, 2021.

                                                      BY THE COURT:


                                                      ______________________________
                                                      Elizabeth E. Brown,
                                                      United States Bankruptcy Court
